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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

REGINALD LOVE,              )
                            )
               Plaintiff,   )
                            )    Case No. 15-cv-11549
          v.                )
                            )    Judge John R. Blakey
SALVIDOR GODINEZ, et al.,   )
                            )
               Defendants.  )
     MOTION TO WITHDRAW AS COUNSEL FOR DFENDANT JOHN DOES

         The undersigned attorney requests that this Court allow him to withdraw from

representation of the Defendant John Does. In support of his motion, counsel states as follows:

         1.     The undersigned attorney entered his appearance for Defendant John Does in

error.

         3.     The undersigned attorney will continue to represent Defendants Salvidor Godinez,

Debbie Knauer, Michael Lemke, Michael Magana, Anna McBee, Hunter, Donald Williams, John

Sievers, Tarry Williams, and McGarvey.

         4.     A copy of this motion has been served on all parties.

         WHEREFORE, the undersigned prays that this Court enter an order allowing the

undersigned attorney’s withdrawal.

                                                     Respectfully submitted,
LISA MADIGAN
Attorney General of Illinois                  By:    /s/ Benjamin C.R. Lockyer
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